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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )            8:06CR153
                                                    )
       vs.                                          )              ORDER
                                                    )
JAIME RAMOS GONZALEZ,                               )
JEREMY JENKINS,                                     )
DILLARD HILL and                                    )
FELIPE PEDRAZA RUIZ,                                )
                                                    )
                      Defendants.                   )


       This matter is before the court on the motion of Dillard Hill (Hill) for an order requiring
the government to disclose the identity of a confidential informant (Filing No. 39). The
motion was held in abeyance until June 13, 2006, pending Hill complying with NECrimR
12.3(b) by filing a statement that counsel had conferred with counsel for the government
in an attempt to resolve the discovery dispute without seeking the court’s intervention
(Filing No. 42). Hill has not filed such a statement or otherwise complied with the order.
Accordingly, Hill’s motion to disclose (Filing No. 39) is denied.
       IT IS SO ORDERED.
       DATED this 15th day of June, 2006.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
